  Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 1 of 18 Page ID #:922


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 18-7495-GW(ASx)                                            Date      June 28, 2019
 Title             Na im Mustafa, et al. v. Christopher Morris, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                             None Present
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                         None Present                                          None Present
 PROCEEDINGS:                IN CHAMBERS - FINAL RULING ON MARKMAN HEARING/CLAIM
                             CONSTRUCTION


Attached hereto is the Court’s Final Ruling on Markman Hearing/Claims Construction.




                                                                                                   :
                                                               Initials of Preparer   JG
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                     Page 1 of 1
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 2 of 18 Page ID #:923




 Na im Mustafa et al v. Christopher Morris et al., Case No. 2:18-cv-07495-GW-(ASx)
 Final Ruling on Markman Hearing/Claims Construction



 I.     INTRODUCTION
        Plaintiffs Na im Mustafa d/b/a The Nono Bracket and The Nono Bracket Company, LLC
 (“Nono”) bring this action against Defendant Christopher Morris (“Morris”) seeking declaratory
 judgment of non-infringement and invalidity of Morris’ U.S. Patent No. 9,986,865 (“the ’865
 Patent”). Docket No. 1 (Complaint) ¶ 6. Morris has filed counterclaims alleging direct, induced,
 and contributory infringement of the ’865 Patent. Docket No. 9, Counterclaims ¶¶ 40-66.
        The parties have submitted a Joint Claim Construction and Prehearing Statement. See
 Docket No. 36. The parties filed Opening Claim Construction Briefs in support of their positions
 regarding disputed terms on May 16, 2019.            See Docket No. 37 (Morris’ Opening Claim
 Construction Brief); Docket No. 38 (Nono’s Opening Claim Construction Brief). The parties filed
 Responsive Claim Construction Briefs on May 30, 2019. See Docket No. 39 (Morris’ Responsive
 Brief); Docket No. 40 (Nono’s Responsive Brief).
        A hearing was held on the parties’ disputed claim terms on June 27, 2019 and the matter
 was taken under submission. The Court construes the disputed terms as stated herein.
 II.    BACKGROUND
        Morris alleges that he is the sole inventor and owner of the ’865 Patent. Docket No. 9,
 Affirmative Defenses ¶ 2. It is titled “Retrofittable System and Apparatus for Hanging Articles
 on Pre-installed Supports” and issued June 5, 2018. The ’865 Patent discloses a device that can
 hang articles on preinstalled supports, such as window treatments, without altering the existing
 structures. ’865 Patent 2:33-38. The ’865 Patent states that such a device is especially desirable
 when tenants wish to personalize their window treatments but are unable to remove, bore holes in,
 or otherwise modify the preinstalled fixtures because of their rental agreements. Id. at 1:41-67.
        Morris alleges that Nono infringes Claims 7 and 14 of the ’865 Patent. Docket No. 9,
 Counterclaims ¶ 43. The parties have claim construction disputes for thirteen terms contained in
 those claims. Docket No. 36 at 2-3. Claim 7 of the ’865 Patent states:
           7. A device for attachment to a pre-installed support, comprising: a body
           portion, comprising:




                                                  1
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 3 of 18 Page ID #:924




                a) at least one central portion, wherein the at least one central portion
                        defines at least one central portion channel, and wherein the at
                        least one central portion channel has at least two openings;
                b) a rear side; and
                c) a front side, the front side having at least one support portion, wherein
                        the at least one support portion is configured to removably retain
                        at least one article; and at least one mechanical means for
                        anchoring, wherein the at least one mechanical means for
                        anchoring is configured to pass through the at least one central
                        portion channel and secure the device to at least one pre-installed
                        support.

 ’865 Patent at Claim 7.
        Claim 14 of the ’865 Patent depends from Claim 7 and states:
           14. The device of claim 7, wherein the at least one mechanical means for
           anchoring comprises:
               a) at least one fixed-width hook element having at least one long side and
                        at least one short side, the at least one fixed-width hook element
                        having at least one short side channel in its at least one short side;
                        and
               b) at least one means of attachment, wherein the at least one means of
                        attachment is configured to pass through the at least one short
                        side channel and the at least one central portion channel and
                        removably secure the at least one fixed-width hook element to the
                        body portion.

 Id. at Claim 14.
        The technology described and claimed by the ’865 Patent will be further explained in the
 sections that follow to the extent it is relevant to the parties’ claim construction disputes.
 III.   LEGAL STANDARD
        A. Claim Construction
        Claim construction is an interpretive issue “exclusively within the province of the court.”
 Markman v. Westview Instruments, Inc., 517 U.S. 370, 372 (1996). It is “a question of law in the
 way that we treat document construction as a question of law,” with subsidiary fact-finding
 reviewed for clear error pursuant to Fed. R. Civ. P. 52(a)(6). Teva Pharms. USA, Inc. v. Sandoz,
 Inc., 135 S.Ct. 831, 837-40 (2015). The claim language itself is the best guide to the meaning of
 a claim term. See Vederi, LLC v. Google, Inc., 744 F.3d 1376, 1382 (Fed. Cir. 2014). This is
 because the claims define the scope of the claimed invention. Phillips v. AWH Corp., 415 F.3d
 1303, 1312 (Fed. Cir. 2005). But a “person of ordinary skill in the art is deemed to read the claim

                                                    2
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 4 of 18 Page ID #:925




 term not only in the context of the particular claim in which the disputed term appears, but in the
 context of the entire patent.” Id. at 1313. Thus, claims “must be read in view of the specification,”
 which is “always highly relevant to the claim construction analysis.” Phillips, 415 F.3d at 1315
 (internal quotations omitted).
        Although claims are read in light of the specification, limitations from the specification
 must not be imported into the claims. Abbott Labs. v. Sandoz, Inc., 566 F.3d 1282, 1288 (Fed. Cir.
 2009). “[T]he line between construing terms and importing limitations can be discerned with
 reasonable certainty and predictability if the court’s focus remains on understanding how a person
 of ordinary skill in the art would understand the claim terms.” Phillips, 415 F.3d at 1323.
        The prosecution history may lack the clarity of the specification, but it is “another
 established source of intrinsic evidence.” Vederi, 744 F.3d at 1382. “Like the specification, the
 prosecution history provides evidence of how the PTO and the inventor understood the patent.”
 Phillips, 415 F.3d at 1317 (citations omitted). “Furthermore, like the specification, the prosecution
 history was created by the patentee in attempting to explain and obtain the patent.” Id. “Yet
 because the prosecution history represents an ongoing negotiation between the PTO and the
 applicant, rather than the final product of that negotiation, it often lacks the clarity of the
 specification and thus is less useful for claim construction purposes.” Id.
        Claim construction usually involves resolving disputes about the “ordinary and customary
 meaning” that the words of the claim would have had “to a person of ordinary skill in the art in
 question at the time of the invention.” Phillips, 415 F.3d at 1312-13 (internal quotations and
 citations omitted). But in some cases, claim terms will not be given their ordinary meaning because
 the specification defines the term to mean something else. “[A] claim term may be clearly
 redefined without an explicit statement of redefinition,” so long as a person of skill in the art can
 ascertain the definition by a reading of the patent documents. Id. at 1320; see also Trustees of
 Columbia Univ. in City of New York v. Symantec Corp., 811 F.3d 1359, 1364 (Fed. Cir. 2016).
        Where the patent itself does not make clear the meaning of a claim term, courts may look
 to “those sources available to the public that show what a person of skill in the art would have
 understood disputed claim language to mean,” including the prosecution history and “extrinsic
 evidence concerning relevant scientific principles, the meaning of technical terms, and the state of
 the art.” Phillips, 415 F.3d at 1314 (internal quotations omitted). Sometimes, the use of “technical
 words or phrases not commonly understood” may give rise to a factual dispute, the determination

                                                  3
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 5 of 18 Page ID #:926




 of which will precede the ultimate legal question of the significance of the facts to the construction
 “in the context of the specific patent claim under review.” Teva, 135 S. Ct. at 841, 849. “In some
 cases, the ordinary meaning of claim language as understood by a person of skill in the art may be
 readily apparent even to lay judges, and claim construction in such cases involves little more than
 the application of the widely accepted meaning of commonly understood words.” Phillips, 415
 F.3d at 1314. “In such circumstances, general purpose dictionaries may be helpful.” Id.
           B. Means-Plus-Function Claim Limitations
           A claim limitation may also be phrased as “a means or step for performing a specified
 function without the recital of structure, material, or acts in support thereof.” 35 U.S.C. § 112(f).1
 Such limitations “shall be construed to cover the corresponding structure, material, or acts
 described in the specification and equivalents thereof.”                  Id.    This “means plus function”
 interpretation applies “only to purely functional limitations that do not provide the structure that
 performs the recited function.” Philips, 415 F.3d at 1311. To construe a means-plus-function
 claim, first, “the court must first identify the claimed function.” Williamson v. Citrix Online, 792
 F.3d 1339, 1351 (Fed. Cir. 2015). Second, “the court must determine what structure, if any,
 disclosed in the specification corresponds to the claimed function.”                     Id.   Structures in the
 specification are “corresponding structure[s]” when “the intrinsic evidence clearly links or
 associates that structure to the function recited in the claim.” Id. at 1352. If the patent does not
 disclose an “adequate corresponding structure, the claim is indefinite.” Id.

 IV.       ANALYSIS
           1.     “at least one mechanical means for anchoring is configured to pass through the at
                  least one central portion channel” (Claim 7)


            Nono’s Proposed Construction                             Morris’ Proposed Construction

     “a strap operative to bound the body against             “something that physically fixes securely
     the pre-installed support”2                              and is shaped to extend through the whole
                                                              length of the passageway disposed in the
                                                              middle or physical center and fasten
 1
  Section 112 ¶ 6 was renamed as § 112(f) by the America Invents Act, Pub. L. No. 112-29, which took effect on
 September 16, 2012. Because the relevant patent in this case for purposes of the parties’ means-plus-function dispute
 was filed after the America Invents Act took effect, the § 112(f) nomenclature is used in this case.

 2
   Nono’s original proposed construction, as it appeared in its Joint Claim Construction Chart, was “a strap operative
 to bound the body against the headrail.” Docket No. 36-1 at 7.

                                                          4
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 6 of 18 Page ID #:927




                                                        something to a pre-installed support, such as
                                                        a headrail or valence”

        The parties appear to agree that the “mechanical means for anchoring” term is a means-
 plus-function term. See Docket No. 37 at 17; Docket No. 38 at 7. Although the parties request
 construction of the full phrase “at least one mechanical means for anchoring is configured to pass
 through the at least one central portion channel” in Claim 7, the smaller phrase “means for
 anchoring” is relevant to the parties’ dispute because it appears in both Claim 7 and Claim 14. The
 relevant portions of those claims state, inter alia:
           7. A device for attachment to a pre-installed support, comprising . . . a front
           side, the front side having . . . at least one mechanical means for anchoring,
           wherein the at least one mechanical means for anchoring is configured to
           pass through the at least one central portion channel and secure the device to
           at least one pre-installed support.

           14. The device of claim 7, wherein the at least one mechanical means for
           anchoring comprises . . . .

 ’865 Patent, Claims 7, 14 (emphasis added).
        To construe a means-plus-function claim, first, “the court must first identify the claimed
 function.” Williamson, 792 F.3d at 1351. Nono argues that the function of the term is “to pass
 through the at least one central portion channel and secure the body to a pre-installed support.”
 Docket No. 38 at 9 (emphasis in original). Morris argues that the function is “to anchor the body
 of the device to the pre-installed support, such as a headrail or valance.” Docket No. 37 at 18. The
 claimed function for a means-plus-function term must be based on the claim language itself.
 Lockheed Martin Corp. v. Space Sys./Loral, Inc., 324 F.3d 1308, 1319 (Fed. Cir. 2003); see also
 Williamson, 792 F.3d at 1351. Here, the relevant means-plus-function claim phrase is “mechanical
 means for anchoring.” This phrase is repeated in the two asserted claims, as well as other
 unasserted claims in the ’865 Patent. The additional phrase “configured to pass through the at
 least one central portion channel and secure the device to at least one pre-installed support” is a
 separate claim limitation appearing only in Claim 7 that describes the relationship of the
 “mechanical means for anchoring” component with other components of the claimed device.
 Based on this understanding of the claim language, the relevant function is: “anchoring.”
        After identifying the function, “the court must determine what structure, if any, disclosed
 in the specification corresponds to the claimed function.” Williamson, 792 F.3d at 1351. Means-

                                                    5
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 7 of 18 Page ID #:928




 plus-function claim limitations “shall be construed to cover the corresponding structure, material,
 or acts described in the specification and equivalents thereof.” 35 U.S.C. § 112(f). Morris’
 proposed construction does not identify a specific disclosed structure from the specification and
 thus lacks specificity as to what structures are covered. On the other hand, Nono’s proposed
 construction is too narrow, limiting the corresponding structure solely to a strap.
        The specification discloses multiple means of anchoring. In the “Summary” Section of the
 specification, the ’865 Patent states,
           In an embodiment, the mechanical means for anchoring may comprise a hook
           operative to hang the body from a top side or edge of the pre-installed support
           so that it may hang with its back side against a front facing portion of the pre-
           installed support. As another example, a resilient clip may be provided to
           forcibly compress the pre-installed support against the back side of the body.
           As yet another example, the body may define a channel or series of holes
           configured to receive a rugged strap, such as a zip-tie, operative to lash the
           body against the pre-installed support.

 ’865 Patent 2:60-3:2 (emphasis added). In the “Detailed Description” Section of the specification,
 the ’865 Patent further describes “means for anchoring” embodiments, including a “resilient clip
 15,” “adjustable and securable ridged plank 16a and stopper 16b,” “fixed-width hook 17,” and
 “rugged strap 19.” ’865 Patent at 5:7-10, 5:37-40, 5:44-54. As illustrated by Figures 6 and 7, the
 specification discloses that a strap 19 is a means of “anchoring the device” by passing through “a
 channel 18 running from the top end 11 to the bottom end 12 of the body.” Id. at 5:49-55




 (emphasis added).

                                                  6
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 8 of 18 Page ID #:929




 Id. at Figs. 6, 7 (annotations added); see also id. at 5:55-57 (“The strap 19 may be a cable tie, zip
 tie, natural or synthetic cord, or any other length of material capable of securing an embodiment
 of the body 10 against a pre-installed support.”).
        As shown in Figures 1, 4, and 9A, the “resilient clip 15,” “ridged plank 16a and stopper
 16b,” and “fixed-width hook 17” are also means of anchoring. Id. at 5:7-10, 5:37-40, 5:44-54.




 Id. at Figs. 1, 4, 9A (annotations added).
        Based on these disclosed examples in the ’865 Patent specification, the clip, plank and
 stopper, hook, and “rugged strap” (including a zip-tie) are each clearly linked to the recited
 function in the claims of “anchoring.”
        The Court does acknowledge that it is still a requirement of Claim 7 that the mechanical
 means for anchoring be “configured to pass through the at least one central portion channel and
 secure the device to at least one pre-installed support.” The parties have not presented a dispute
 regarding the meaning of the phrase “pass through.” Instead, both parties appear to agree that for
 a component to “pass through” the central portion channel, it must fully extend through the
 channel. See Docket No. 39 at 9; Docket No. 40 at 8. Based on this understanding of the claim
 language, for the identified means for anchoring (including a clip, plank, hook, or strap) to satisfy
 the additional requirements of Claim 7, they must be of a form where the fully pass through the
 central portion channel. However, because the Court has found that this claim language is not a
 part of the means-plus-function phrase itself, the same stringent requirements of means-plus-
 function claiming, including disclosure in the specification “clearly linking” a structure to the
 recited function, are not required. Instead, the Court adheres to the general claim construction rule



                                                  7
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 9 of 18 Page ID #:930




 that limitations from the specification should not be imported into the claims. Abbott Labs. v.
 Sandoz, Inc., 566 F.3d 1282, 1288 (Fed. Cir. 2009).
           The Court construes the term “mechanical means for anchoring” as follows:
                Governed by § 112(f):
                Function: anchoring
                Structure: strap 19, resilient clip 15, ridged plank and stopper 16a and 16b,
                fixed-width hook 17, and equivalents thereof. See’865 Patent at 5:7-10, 5:37-
                40, 5:44-54, Figs. 1, 4, 6, 7, 9A.
           2.        “at least one means of attachment is configured to pass through the at least one
                     short side channel and the at least one central portion channel and removably secure
                     the at least one fixed-width hook element to the body portion” (Claim 14)

            Nono’s Proposed Construction                           Morris’ Proposed Construction

     “a strap to go through the short side channel of        “something that fastens, connects, or mounts
     the fixed-width hook and then through the               and is shaped to extend the whole length of
     central portion channel of the body and                 corresponding passageways, one disposed in
     removably secure the fixed-width hook to the            the middle or physical center of the main
     body, and then bound the body against the pre-          portion and one disposed in the part of
     installed support” 3                                    relatively lesser distance”

           The parties also agree that the “means of attachment” term is governed by 35 U.S.C.
 § 112(f) but disagree on the term’s function. See Docket No. 37 at 23; Docket No. 38 at 12. Again,
 the parties refer to the full phrase “at least one means of attachment is configured to pass through
 the at least one short side channel and the at least one central portion channel and removably secure
 the at least one fixed-width hook element to the body portion.” However, the smaller phrase
 “means of attachment” appears in Claim 14 twice. Claim 14 states:
                14. The device of claim 7, wherein the at least one mechanical means for
                anchoring comprises:
                    a) at least one fixed-width hook element having at least one long side and
                             at least one short side, the at least one fixed-width hook element
                             having at least one short side channel in its at least one short side;
                             and


 3
   Nono’s original proposed construction, as it appeared in its Joint Claim Construction Chart, was “a strap to go
 through the short side channel of the fixed-width hook and then through the central portion channel of the body and
 removably secure the fixed-width hook to the body, and then bound the body against the head rail.” Docket No. 36-
 2 at 4.

                                                         8
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 10 of 18 Page ID #:931




                   b) at least one means of attachment, wherein the at least one means of
                           attachment is configured to pass through the at least one short
                           side channel and the at least one central portion channel and
                           removably secure the at least one fixed-width hook element to the
                           body portion.

 ’865 Patent, Claim 14 (emphasis added). As with the “mechanical means for anchoring” term, the
 Court finds that the smaller phrase “means for attachment” is the relevant means-plus-function
 phrase for construction. Based on this determination, the Court rejects Nono’s proposed function
 for the term, which refers to other claim language that is not part of the smaller means-plus-
 function phrase, and agrees with Morris that the proper claimed function is “attachment.” Docket
 No. 38 at 12; Docket No. 37 at 23.
          Regarding corresponding structure, also as with the “mechanical means for anchoring”
 term, Morris’ proposed construction does not identify any structure disclosed with specificity in
 the patent specification that corresponds to the recited function. Docket No. 37 at 23. Nono argues
 that there is no disclosed structure that corresponds with what it has identified as the recited
 function and concludes on that basis that the claim phrase is indefinite. Docket No. 38 at 12.
          The specification only names “screws [or] nails” as “means of attachment.” See ’865
 Patent 6:53. These means of attachment are described in the patent specification as being capable
 of insertion into “one or more holes 26,” illustrated in Figure 5, to attach “decorative brackets and
 other hardware” for “disguis[ing] the retrofittable device” Id. at 6:49-53.




 Id. at Fig. 5 (annotation added). Based on the language in the specification, screws and nails are
 the only two structures that are clearly linked to the claimed function of “attachment.”4

          4
            Although the specification identifies screws and nails as structures that may correspond to the claimed
 function, the full claim language of Claim 14 and its relationship to the claim language of Claim 7 seem to create some

                                                           9
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 11 of 18 Page ID #:932




          The Court construes the term “means of attachment” as follows:
               Governed by § 112(f):
               Function: attachment
               Structure: screws, nails, and equivalents thereof. See ’865 Patent at 6:49-
               53; Fig. 5.
          3.        “at least one fixed-width hook element” (Claim 14)

           Nono’s Proposed Construction                                Morris’ Proposed Construction

  “a linking member that requires a body to be                  “a piece that is bent at a sharp angle of a
  operable”                                                     particular width and which is adapted to hold
                                                                onto something”


          Morris’ proposal for the phrase “at least one fixed-width hook element” uses definitions
 from the 2003 Oxford-English Dictionary. Docket No. 37 at 19 (defining “fixed width” as “a
 particular width” and a hook as “a length of . . . material . . . with a sharp angle”). It appears that
 Morris is attempting to capture his understanding of the plain and ordinary meaning of the term in




 concerns. As described previously, Claim 7 requires that the claimed “mechanical means for anchoring” must “pass
 through” the central channel. Further, the specification describes a fixed-width hook as a potential mechanical means
 for anchoring. Thus, Claim 7 requires that the fixed-width hook itself pass through the central channel. Claim 14,
 meanwhile, requires a mechanical means for anchoring that is a combination of a fixed-width hook (with a long and
 short side, where the short side has a channel it it) and a means of attachment (that passes through the channel in the
 fixed-width hook and the central channel). In other words, in the Claim 14 configuration, it would not seem that the
 fixed-width hook itself would pass through the central channel. Instead, the fixed-width hook could effectively sit on
 top of the central portion, with a channel of its own that syncs up with the central portion channel so that a nail or
 screw could pass through the two stacked channels (and thus attach/connect the fixed-width hook and the central
 portion). But this interpretation of the claim language, if correct, would create irreconcilable requirements for the
 fixed-width hook: Claim 7 requires the fixed-width hook to pass through the channel, while this interpretation of
 Claim 14 would seem to require an independent means for attachment to pass through the central channel that is not
 the fixed-width hook. Because of these conflicting requirements, the Court has concerns that Claim 14 may fail to
 satisfy the requirements of 35 U.S.C. § 112. See 35 U.S.C. § 112, ¶ 4 (“[A] claim in dependent form shall contain a
 reference to a claim previously set forth and then specify a further limitation of the subject matter claimed. A claim
 in dependent form shall be construed to incorporate by reference all the limitations of the claim to which it refers.”
 (emphasis added)). These sentiments were included in a similar footnote in the tentative order distributed to the parties
 at the claim construction hearing. During the hearing, Nono made a similar argument, suggesting that Claim 14 is
 invalid because it has inconsistent limitations compared to Claim 7. When it was his turn, Morris did not meaningfully
 respond to Nono’s argument or the Court’s footnote, amplifying the Court’s concerns. However, the Court declines
 to reach a final determination regarding the validity of Claim 14 at this time because the record on the issue has not
 been fully developed, and Nono’s arguments regarding validity were intertwined with other claim construction
 positions that the Court rejects. Nono may renew an invalidity argument in the form of an appropriate motion at a
 later date.

                                                           10
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 12 of 18 Page ID #:933




 his construction. However, it is not clear that Morris’ transcribed interpretation of the phrase
 would be helpful to a jury.
        Nono argues that the term should be construed as “a linking member that requires a body
 to be operable.” Docket No. 38 at 10. Nono appears to base its proposal on certain language in
 the specification. In particular, Nono’s proposal comes from language in the specification
 referring to a “linking member.” In Figure 1, for instance, the patent explains that an embodiment
 of the invention “may comprise a body 10 and a linking member 20 that are optionally separable.”
 ’865 Patent at 5:66-6:4 (emphasis added). The specification further discloses that “[t]he linking
 member may be a hook 23b,” as shown in Figure 2. Id. at 6:27-28 (emphasis added).




 Id. at Figs. 1, 2 (annotations added).
        However, elsewhere, the specification discloses that an “embodiment of mechanical means
 for anchoring the body 10 against the pre-installed support may comprise a fixed-width hook 17
 sized to receive a particular width.” ’865 Patent 5:44-48 (emphasis added). This description is
 the only instance where the full term “fixed-width hook” is used in the specification. The fixed-
 width hook 17 is depicted only in Figure 9A of the ’895 Patent. In introducing Figure 9A, the
 specification states, the “body 10, mechanical means of anchoring, and even [a] linking member
 20,” as shown in Figure 1, may be “formed as a single, integrated piece.” Id. at 6:12-15. In other
 words, in Figure 9A embodiment, the linking member 20 appears to be equivalent to the body 10.




                                                11
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 13 of 18 Page ID #:934




 Id. at Fig. 9A (annotation added).

       Nono’s argument that the fixed-width hook element should be construed as a “linking
 member” appears inconsistent with this disclosure in the specification, where the fixed-width hook
 element only appears to be described as part of a linking member 20/body 10. Docket No. 38 at
 10-11. Based on a comparison between the specification and drawings of the “fixed-width hook”
 in Figure 9A and the “linking member” in Figures 1 and 2, it does not appear that the fixed-width
 hook is equivalent to the linking member and, therefore, should not be construed as such.
       Nono’s proposed construction also includes the phrase “requires a body to be operable.” It
 is unclear what Nono attempts to add with this language, or where it comes from. The only
 justification for the phrase appears in Nono’s Responsive Brief, which merely states that the
 “linking member requires a body portion to be operable.” Docket No. 40 at 9. Nono has not
 explained why this language is necessary in the construction of “at least one fixed-width hook
 element” and, accordingly, this portion of its proposal is rejected.
       Nothing in the intrinsic record suggests use of the term “at least one fixed-width hook
 element” that is inconsistent with its ordinary meaning. At most, the Court might consider
 construing the term as “at least one hook of a fixed width.” However, neither party requested such
 a construction, and the Court is not entirely convinced that a jury would need it to understand the
 meaning of the phrase. Accordingly, the Court finds that no construction is necessary for the term
 “at least one fixed-width hook element.”




                                                  12
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 14 of 18 Page ID #:935




          4.       “at least one central portion,” “at least one central portion channel has at least two
                   openings,” “a rear side,” “a front side,” “at least one support portion is configured
                   to removably retain at least one article,” “at least one long side,” “at least one short
                   side,” and “at least one short side channel in its at least one short side”

               Term                  Nono’s Proposed Construction                     Morris’ Proposed
                                                                                       Construction

     “at least one central           “the part of the body that is in           “the portion which is in the
     portion”                        the center of the body”                    middle or physical center”
     (Claim 7)
     “at least one central           “a channel running from the top            “The passageway which is
     portion channel has at          end of the body to the bottom              disposed in the middle or
     least two openings”             end of the body located in the             physical center has two means
     (Claim 7)                       part of the body that is in the            of egress and ingress, that is,
                                     center of the body, which has a            two accessible portions”
                                     first opening at the top end of
                                     the body and a second opening
                                     at the bottom of the body”
     “a rear side” (Claim 7)         “the back side of the body which           “the back-facing, hindmost
                                     is bound with a strap against the          portion”
                                     preinstalled support”5

     “a front side” (Claim 7)        “the front side of the body which          “the front-facing, foremost
                                     has at least one support portion”          portion”

     “at least one support           “the front portion of the front            “something that bears the
     portion is configured to        side of the body having a shape            weight of something or holds
     removably retain at least       to removably hold an article in            something up and is shaped to
     one article” (Claim 7)          place”                                     hold an item in place, which
                                                                                can later be taken away”
     “at least one long side”        “one side of the fixed-width               “a part of relatively greater
     (Claim 14)                      hook element is longer relative            distance”
                                     to the other side”




 5
   Nono’s original proposed construction, as it appeared in its Joint Claim Construction Chart, was, “the back side of
 the body which is bound with a strap against the head rail.” Docket No. 36-1 at 4.

                                                         13
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 15 of 18 Page ID #:936




  “at least one short side”      “one side of the fixed-width          “a part of relatively lesser
  (Claim 14)                     hook element is shorter relative      distance”
                                 to the other side”

  “at least one short side       “the shorter side of the fixed-       “a passageway disposed in the
  channel in its at least one    width hook element has an             part of relatively lesser
  short side” (Claim 14)         opening on the top and an             distance”
                                 opening on the bottom and a
                                 channel running through
                                 between the two openings”


         Morris’ proposed constructions for the terms “at least one central portion,” “at least one
 central portion channel has at least two openings,” “a rear side,” “a front side,” “at least one support
 portion is configured to removably retain at least one article,” “at least one long side,” “at least
 one short side,” and “at least one short side channel in its at least one short side” are again based
 on definitions from the 2003 Oxford-English Dictionary.              See, e.g., Docket No. 37 at 9
 (“‘[C]entral’ . . . is . . . the physical center or middle of something . . . constituting the center.”);
 see also id. at 10 (“at least one central portion channel has at least two openings”); id. at 12 (“a
 rear side”); id. at 13 (“a front side”); id. at 14 (“at least one support position is configured to
 removably retain at least one article”); id. at 20 (“at least one long side”); id. (“at least one short
 side”); id. at 21 (“at least on short side channel in its at least one short side”). Although these
 proposed constructions appear to be consistent with the terms’ plain meanings, Morris has not
 sufficiently explained the purpose or benefit of construing these easily-understood terms.
         Nono’s proposals for these terms incorporate surrounding claim language. See, e.g.,
 Docket No. 38 at 5 (proposing that the “at least one central portion be construed as part of the
 body” when the immediately preceding language states “a body portion, comprising”); see also id.
 (“at least one central portion channel has at least two openings”); id. at 6 (“a rear side”); id. (“a
 front side”); id. at 7 (“at least one support position is configured to removably retain at least one
 article”); id. at 11 (“at least one long side”); id. (“at least one short side”); id. (“at least on short
 side channel in its at least one short side”). Nono’s proposed constructions create unnecessary
 redundancy in the claim language.
         Additionally, for the terms “at least one central portion channel has at least two openings”
 and “a rear side,” Nono improperly imports limitations from the specification into its proposed
 constructions. Nono’s proposed construction for the former term specifies that, as described in


                                                    14
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 16 of 18 Page ID #:937




 one embodiment in the specification, two openings must each be located at the top and bottom of
 the body. Docket No. 38 at 5-6. This limitation, however, is not supported by the claim language
 or any other intrinsic evidence besides the embodiment described. See ’865 Patent at 5:49-54;
 Abbott Labs., 566 F.3d at 1288 (“[C]ourts must take care not to import limitations into the claims
 from the specification.”). Similarly, Nono’s proposal for “a rear side” includes the term “strap,”
 which is only used to describe an embodiment in the specification. See id. at 2:66-3:2, 5:52-60.
           The intrinsic evidence does not indicate that these terms should be understood by anything
 other than their plain and ordinary meanings. After considering the parties’ arguments, the Court
 finds that no construction is necessary for the terms “at least one central portion,” “at least one
 central portion channel has at least two openings,” “a rear side,” “a front side,” “at least one support
 portion is configured to removably retain at least one article,” “at least one long side,” “at least
 one short side,” and “at least one short side channel in its at least one short side.”
           5.          “a device for attachment to a pre-installed support” and “a body portion”

         Term                  Nono’s Proposed Construction                           Morris’ Proposed
                                                                                       Construction

     “a device for       “an apparatus for attachment to a pre-                “something that mounts to a
     attachment to       installed support that is comprised of a body         pre-installed support, such as
     a pre-installed     portion”6                                             a headrail or valence”
     support”
     (Claim 7)
     “a body             “having a top end, a bottom end, a front side,        “The main portion”
     portion”            a back side, and a mechanical means for
     (Claim 7)           anchoring the body along its back side
                         against the pre-installed support with the
                         mechanical means for anchoring configured
                         to pass through a central portion channel”
           The terms “a device for attachment to a pre-installed support” and “a body portion” are
 parts of the preamble of Claim 7. Id. at Claim 7. Preamble terms can limit the scope of a claim if
 they recite “essential structure or steps” or are “necessary to give life, meaning, and vitality to the
 claim.” TomTom, Inc. v. Adolph, 790 F.3d 1315, 1323 (Fed. Cir. 2015) (citing Catalina Mktg.
 Int’l, Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002)). Otherwise, terms in the
 preamble are not limiting when the body of the claim “describes a structurally complete invention”


 6
   Nono’s original proposed construction, as it appeared in its Joint Claim Construction Chart, was “an apparatus for
 attachment to a head rail that is comprised of a body portion.” Docket No. 36-1 at 1.

                                                         15
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 17 of 18 Page ID #:938




 or when the preamble states an intended use. Catalina, 289 F.3d at 809. In addition to the same
 reasons the Court provides in the previous section for declining to construe commonly-understood
 words and phrases, Nono has not shown that construction of these preamble terms is appropriate.
 The preamble of Claim 7 states that the claimed invention is “a device for attachment to a pre-
 installed support, comprising: a body portion, comprising.” ’865 Patent, Claim 7. The remainder
 of the claim then fully describes the minimum components of this attachment device. Thus, it does
 not appear that the terms are necessary and defining. Rather, the preamble of Claim 7 is a statement
 of intended use and the body of the claim describes a complete invention. See id.
          At the hearing, Nono seemed to argue that construction of the term “a body portion” should
 be limited to the exact embodiment described in the specification, including having a means for
 anchoring limited to a strap. The logic of Nono’s argument appeared to be that because the term
 “a body portion” appears in a claim that also includes a means-plus-function phrase, construction
 of the term “a body portion” when considered with the other claim requirements (including the
 means-plus-function term) must be limited to the specific corresponding embodiments disclosed
 in the specification. Nono did not address the fact that the term “a body portion” is a preamble
 term or otherwise respond to the Court’s analysis to this end in its tentative order. Nono also failed
 to explain how its argument is consistent with the general claim construction rule that claim terms
 should not be limited to the embodiments, even if they are preferred embodiments, disclosed in
 the specification. See Abbot Labs., 556 F.3d at 1288. Having further considered Nono’s position,
 the Court finds it unpersuasive.
          For these additional reasons, the terms “a device for attachment to a pre-installed support”
 and “a body portion” are not construed.
          5.     Nono’s Other Invalidity Arguments
          Nono argues that Claims 7 and 14 are invalid for failing to meet the written disclosure
 requirements under 35 U.S.C. § 112. Docket No. 38 at 10, 13-15. Written description arguments
 are not appropriately considered at the claim construction stage. Although the Court agrees that
 there may be some § 112 concerns related to these claims, it declines to address them at this time.
 V.       CONCLUSION
          For the reasons stated, the Court adopts the following constructions for the disputed claim
 terms:



                                                  16
Case 2:18-cv-07495-GW-AS Document 44 Filed 06/28/19 Page 18 of 18 Page ID #:939




                       Term                                     Court’s Construction
  “at least one mechanical means for anchoring        Governed by § 112(f):
  is configured to pass through the at least one
  central portion channel” (Claim 7)                  Function: anchoring

                                                      Structure: strap 19, resilient clip 15, ridged
                                                      plank and stopper 16a and 16b, fixed-width
                                                      hook 17, and equivalents thereof. See’865
                                                      Patent at 5:7-10, 5:37-40, 5:44-54, Figs. 1, 4,
                                                      6, 7, 9A.

  “at least one means of attachment is                Governed by § 112(f):
  configured to pass through the at least one
  short side channel and the at least one fixed-      Function: attachment
  width hook element to the body portion”
  (Claim 14)                                          Structure: screws, nails, and equivalents
                                                      thereof. See ’865 Patent at 6:49-53; Fig. 5.

  “at least one fixed-width hook element”             no construction necessary
  (Claim 14)
  “at least one central portion” (Claim 7)            no construction necessary
  “at least one central portion channel has at        no construction necessary
  least two openings” (Claim 7)
  “a front side” (Claim 7)                            no construction necessary
  “a rear side” (Claim 7)                             no construction necessary
  “at least one support portion is configured to      no construction necessary
  removably retain at least one article” (Claim
  7)
  “at least one long side” (Claim 14)                 no construction necessary
  “at least one short side” (Claim 14)                no construction necessary
  “at least one short side channel in its at least    no construction necessary
  one short side” (Claim 14)
  “a device for attachment to a pre-installed         no construction necessary
  support” (Claim 7)
  “a body portion” (Claim 7)                          no construction necessary




                                                     17
